                 Case 1:09-cr-00272-DAD-BAM Document 171 Filed 03/01/11 Page 1 of 3
                                                                            PRO HAC VICE APPLICATION,
                                                                          ECF REGISTRATION AND CONSENT
         UNITED STATES DISTRICT COURT                                        TO ELECTRONIC SERVICE,
        EASTERN DISTRICT OF CALIFORNIA                                          PROPOSED ORDER




                                          Plaintiff(s),
                                                            Case No. 1:09-CR-00272 OWW-5
          v.

          FABIO CAZARE-ZAMORA
                                         Defendant(s).




                  I, Scott W. Johnson,

         attorney for Hipolito Briseno-Rodriguez,

         hereby petition for admission to practice Pro Hac Vice under the provision of Local Rule

         180(b)(2). I understand and consent to ECF Registration and Electronic Service as detailed

         below and I have submitted payment in the amount of $180.00 to the Clerk, U.S. District Court.

         In support of this petition, I state under penalty of perjury that:

                  My business address is:

         Firm Name:             _Mendoza Law Office, P.S. ________________

         Address:                7135 W. Hood Place________________________

                                _________________________________________________________

         City:                  Kennewick__________________________________________

         State:                  WA                       ZIP Code: _99336___________

         Voice Phone:            (509)_374-1554_____________________________________

         FAX Phone:              (509)_374-8124_____________________________________

         Internet E-mail:       scott@mendozalawyers.com_________________________

         Additional E-mail:     monica@mendozalawyers.com_______________________

         I reside in City:       Richland                   State: WA____________




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                   I was admitted to practice in the Washington State Supreme                     (court)

         on 06/02/98                                         (date). I am presently in good standing and

         eligible to practice in said court. A certificate of good standing from the court in my state of

         primary practice is attached to this application. I am not currently suspended or disbarred in

         any other court.

                   I have o / have not x concurrently or within the year preceding this application made

         a pro hac vice application to this court. (If you have made a pro hac vice application to this

         court within the last year, list the name and case number of each matter in which an

         application was made, the date of application and whether granted or denied.)

         ___________________________________________________________________________

         ___________________________________________________________________________

                                                                                                            .

                   I hereby designate the following member of the Bar of this Court who is registered for

         ECF with whom the Court and opposing counsel may readily communicate regarding the

         conduct of the case and upon whom electronic notice shall also be served via the court's ECF

         system:

         Name:            _Harry M. Drandell_________________________________

         Firm Name:       _Law Offices of Harry M. Drandell_____________________

         Address:         _1221 Van Ness Avenue, Suite 450___________________

                          _______________________________________________________________

         City:             Fresno__________________________________________________

         State:            CA                 ZIP Code: _____93721_____________________

         Voice Phone: (559)_442-8888__________________________________________

         FAX Phone:        (559)_442-8891__________________________________________

         E-mail:          hmdrandell@sbcglobal.net__________________________________


         Dated: 02/23/2011                      Petitioner: _/s/ Scott W. Johnson_




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                                                ORDER

                IT IS SO ORDERED.


         Dated: February 25, 2011                      /s/ OLIVER W. WANGER
                                                       United States District Judge




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